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                             UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF WEST VIRGINIA
CITY OF HUNTINGTON,                               Civil Action No. 3:17-cv-01362
     Plaintiff,
v.
AMERISOURCE BERGEN DRUG
CORPORATION, et al.,
     Defendants.

                                                  Consolidated case:
CABELL COUNTY COMMISSION,                         Civil Action No. 3:17-cv-01665
    Plaintiff,
v.
AMERISOURCE BERGEN DRUG
CORPORATION, et al.,
    Defendants.

         APPENDIX OF SEALED EXHIBITS SUPPORTING PLAINTIFFS’ MEMORANDUM IN
        OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MARKETING OPINIONS OF
        DRS. ANNA LEMBKE, KATHERINE KEYES, ANDREW KOLODNY, AND JAKKI MOHR

            The following exhibits to Plaintiffs’ Memorandum in Opposition to Defendants’ Motion

to Exclude Marketing Opinions of Drs. Anna Lembke, Katherine Keyes, Andrew Kolodny, and

Jakki Mohr, attached hereto, are being filed under seal:

            Ex. D - Plaintiffs’ Expert Witness A. Lembke Transcript of Deposition (Sept.

17, 2020)

            Ex. G - Plaintiffs’ Expert Witness K. Keyes Transcript of Deposition (Sept. 15,

2020)

            Ex. N - Plaintiffs’ Expert Witness G. Smith Transcript of Deposition (Sept. 22,

2020)

            Ex. P - Plaintiffs’ Expert Witness A. Kolodny Transcript of Deposition (Sept. 04,

2020)




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            Ex. Q - Plaintiffs’ Expert Witness J. Mohr Transcript of Deposition (Sept. 21,

2020)

            Ex. V - MCKMDL00353376



Dated: October 23, 2020

THE CITY OF HUNTINGTON                               CABELL COUNTY COMMISSION

/s/ Anne McGinness Kearse                            /s/ Anthony J. Majestro
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                             CERTIFICATE OF SERVICE

            I certify that on October 23, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s

system. This filing will also be served on all parties by email to:

Track2OpioidDefendants@ReedSmith.com and mdl2804discovery@motleyrice.com.




                                           /s/ Paulina do Amaral
                                                Paulina do Amaral




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